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                                                    January 27, 2022

          Honorable Chad F. Kenney
          United States Federal Judge
          United States District Court
          Eastern District of Pennsylvania
          11613 U.S. Courthouse
          601 Market Street
          Philadelphia, PA 19106
          Courtroom 11-B
          Via ECF

                     Re:   Ricardo Oved, et al. v. ABC Capital Investments, LLC, et al.
                           United States District Court │ Eastern District of Pennsylvania
                           No.: 22-cv-04345

          Dear Your Honor:

          Undersigned Counsel represents Plaintiffs in this matter, which was initiated on or about October
          31, 2022. On or about January 13, 2023, Defendants, ABC Capital Investments LLC and
          Stateside Philly LLC filed Suggestion of Bankruptcies (ECF Doc. No. 8 and 9, respectively). As
          a result, this Honorable Court entered an Order, on January 17, 2023, that, inter alia, directed
          Plaintiff to file status reports regarding the bankruptcies. Please accept this letter as the first of
          such status reports.

          ABC Capital Investments LLC (EDPA Bankruptcy No. 22-13060-elf)
          ABC Capital Investments LLC filed a Chapter 7 Voluntary Petition on or about November 15,
          2022 and filed its schedules on or about December 19, 2022, following two orders to do so. The
          Meeting of Creditors originally scheduled for December 14, 2022 was continued as the debtor
          did not appear. It was rescheduled for January 12, 2022 and was continued again as the debtor
          did not appear. It was rescheduled for January 19, 2022 and was continued as additional
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information was required by the Trustee. The Meeting of Creditors is now scheduled for
February 16, 2023.

On or about January 27, 2023, Undersigned Counsel filed an entry of appearance and proof of
claim on behalf of Plaintiff. Undersigned Counsel intends to attend the February 16, 2023
Meeting of Creditors.

Stateside Philly LLC (EDPA Bankruptcy No. 22-13062-mdc)
Stateside Philly LLC filed a Chapter 7 Voluntary Petition on or about November 15, 2022 and
filed its schedules on or about December 1, 2022, following one order to do so. The Meeting of
Creditors originally scheduled for December 15, 2022 was continued as the debtor did not
provide the Trustee with requested records. It was rescheduled for January 12, 2022 and was
continued again as the debtor did not appear. It was rescheduled for January 19, 2022 and was
continued as additional information was required by the Trustee. The Meeting of Creditors is
now scheduled for February 16, 2023.

On or about January 27, 2023, Undersigned Counsel filed an entry of appearance and proof of
claim on behalf of Plaintiff. Undersigned Counsel intends to attend the February 16, 2023
Meeting of Creditors.

Should this Honorable Court require any further information at this time or in advance to the
next status report, due in sixty days, Plaintiff and Undersigned Counsel will abide further
direction.


                                                    Respectfully submitted,



                                                    L. Anthony DiJiacomo, III
